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WESTERN DISTRICT OF WASHINGTON
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

BERNARD CAIN and MARY CAIN, his
wile,

Plaintiffs,
Vs.

TRANS TINION LLC, and CREDIT
PROTECTION ASSOCIATION, L.P.,

Defendants.

(V4 1779CL

COMPLAINT FOR DAMAGES FOR
VIOLATION OF TITE FAIR CREDIT
REPORTING ACT (15 U.S.C. §§ 1681 et.
seq.); THE WASHINGTON STATE FAIR
CREDIT REPORTING ACT (ROW
19.181.05 et seq.); THE WASHINGTON
STATE CONSUMER PROTECTION
ACT (RCW 19.86.010 et seq.)

JURY TRIAL DEMANDED

I. PARTIES, JURISDICTION AND VENUE

1.1 Bernard Cain and Mary Cain are husband and wife. They live within

the Western District of Washington. Plaintiffs are “consumers” within Lhe meaning

of 15 U.5.C. §1681a(3),

1.2 Trans Union LLC is a consumer reporting agency, 4s defined by lhe

Fair Credit Reporting Act (“FORA”), 15 U.S.C, 1681 et, seq., and the Washington

State Fair Reporting Act, RCW 19.181.05 et seg., doing business in the Western

District of Washington.

COMPLAINT FOR DAMAGES - 1 0 R | G | N AL

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1.3 Credit Prolection Association, L.P. is a consumer reporting agency as
defined by the Fair Credit Reporting Act (“FRCA” ”), 15 U.S.C. 1681 et. seq., and
the Washington State Fair Reporting Act, RCW 19.181.05 et seq., dving business in
the Western District of Washington.

1.4 This court has jurisdiction pursuant to 15 U.S.C. §1681, 28 U.S.C.
§1331 and 28 U.S.C, §1367.

Il. FIRST CLAIM FOR RELIEF

FEDERAL FATR CREDIT REPORTING ACT, 15 U.S.C.

2.1 Onor about May 28, 2004 defendants furnished an investigative
consumer report ta Washington Mortgage Group, Inc., for purposes of plaintiffs’
refinancing loans on their residence and another residence owned by them. This
report contained information that defendant Bernard Cain, wrongfully identified as
Bernard Kain, owed a balance to Comcast. Plaintiff Bernard Cain is no relation to
and never before heard of Bernard Kain.

2.2 Plaintiff Bernard Cain called defendants to inform them of the error
and requested them lo inform Washington Mortgage Group, Inc. of the mistake,
Ultimately, plaintiffs wore informed that Equifax, another consumer reporting
agency, had informed Washington Mortgage Group, Inc. of the error so that
plaintiffs’ credit reputation might be restored. Nevertheless, defendants have,
despite numerous frustrating calls by plaintiffs and their counsel, refused to clear

the mistake.

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COMPLAINT FOR DAMAGES - 2
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1 2.3 Thus defendants have willfully failed to comply with the

2 requirements imposed under FCRA, including, but not limited to, failing to follow
, reasonable pracedures to assure maximum possible accuracy of the information in
investigative consumer reports as required by 15 U.S.C. §1681[{b).

5 2.4 Asaresult of defendants’ violation of the FCRA, plaintiffs have been

7 unable to refinance their residence and other property owned by them and have

8 sustained economic damage in the form of inability to refinance, higher interest

g rates, damage to their reputation, worry, fear, distress, frustration, embarrassment,
16 est as : .
and humiliation, all in an amount to be determined by the jury.
11
2.5 Plaintiffs are entitled to punitive damages in an amount as the court
12
may allow,
3 nay allow
14 2.6 Plaintiffs are entitled to their attorney fees, pursuant to 15 U.S.C.

15 §1681n(c) and 16810.

16 TI. SECOND CLAIM FOR RELIEF

v FEDERAL FAIR CREDIT REPORTING ACT, 15 U.S.C. § 1681 et seq.

° 3.1 Plaintiffs reallege paragraphs 1.1 through 2.6 as if fully set forth here.
. 3.2 Defendanis negligently failed to comply with the requirements

>4 imposed under FCRA, including, but not limited to, failing to follow reasonable
22 procedures to assure maximum possible accuracy of the information in

23 investigative consumer reports as required by 15 U.S.C, § 1681(b),

3.3 As aresull of defendants’ violation of the FGRA, plaintiffs were

caused to suffer ecanomic damages in the form of inability to refinance, higher

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COMPLAINT FOR DAMAGES - 3

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interest rales, damage to their reputation, worry, fear, distress, frustration,
embarrassment, and humiliation, ali in an amount to be determined by the jury.

3.4 Plaintiffs are entitled to their attorney fees, pursuant to 15 U.S.C. §
1681n(c) and 16810.

Ivy, THIRD CLAIM FOR RELIEF

WASHINGTON STATE FAIR CREDIT REPORTING ACT, RCW 19.162.005 et. seq.

4.1 Plaintiffs reallege paragraphs 1.1 through 3.4 as if fully set forth here.

4.2 Defendants willfully failed to comply with the requirements imposed
under Washington State Fair Credit Reporling Act, RCW 19.182.005 et seq.,
including, bul not limited to, failing to following reasonable procedures lo assure
maximum possible accuracy of the information to investigative consumer reports,
as required by RCW 19.182,060(2).

4.3 Asaresult of defendants’ violation of the Washingion State FCRA,
plaintiffs were caused to suffer economic damages in the form of inability to
refinance, higher interest rates, damages to their reputation, worry, fear, distress,
frustration, embarrassment, aud hurniliation, all in an amount to be determined by
the jury.

4.4 aintiffs are entitled in addition to actual damages, to a $1,000
penalty in accordance with RCW 19.182.150.

4.5 Plaintiffs are entitled to costs of this suit, including atlorney feces,

pursuant to RCW 19.182.150.

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COMPLAINT FOR DAMAGES - 4
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V. FOURTH CLAIM FOR RELIEF

WASHINGTON STATE FAIR CREDIT REPORTING ACT, RCW 19.182.005 el seq.

5.1 Plaintiffs reallege paragraphs 1.1 through 4.5 as if fully sel forth here.

5.2 Defendants negligently failed to comply with the requirements
impased under Washington State Fair Credit Reporting Act, RCW 19.182.005, et
seq., including, but not limited to, failing to follow reasonable procedures to assure
maximum possible accuracy of the information in investigative consumer reports,
as Tequired by RCW 19.182.060(2).

5.3 As aresult of defendants’ vialation of the Washington State Fair
Credit Keporting Act, plaintiffs were caused to suffer economic damages in the
form of inabilily to refinance, higher interest rates, damage to their reputation,
worry, fear, distress, frustralion, embarrassment, and humiliation, all in an amount
to be determined by the jury.

5.4 Plaintiffs are entitled to costs of this suit, including their attorney fees,
pursuant to RCW 19.182.150.

VI. FIFTH GLAIM FOR RELIFF

WASHINGTON STTE CONSUMER PROTECTION ACT, RCW 19.86.010 ef seq.

6.1 Plaintiffs reallege paragraphs 1.1 through 5.4 as if fully set forth here.

6.2 Defendants, in violating the Washington State Fair Credit Reporting
Act, committed “an unfair or deceptive act in trade or commerce . . .for purposes of
applying the consumer protection act” in violation of the Washington State

Consumer Protection Act, RCW 19.86.010 et seq.

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COMPLAINT FOR DAMAGES - 5
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6.3 Defendants engaged in an unfair or deceptive act or practice because
in failing to adopt and execute “reasonable procedures to assure maximum possible
accuracy of the information concerning the individual about whom the report
relates” under ROW 19,.182.060(2), and such a [failure is deemed an unfair or
deceptive practice pursuant to RCW 19.182.150, and is thus a violation of the
Washington State Consumer Protection Act, RCW 19.86.010 et seq., specifically
RCW 19.86.020.

6.4 This act or practice by the defendants occurred in the conduct of its
business,

6.5 This act or practice affected the public interest.

6.6 By losing refinancing opportunities and paying higher interest,
plaintiffs were injured in their business or property.

6.7 Defendants’ act caused plaintiffs’ injury.

6.8 Plaintiffs are entitled under RCW 19.86,.090 to actual damages.

6.9 Plaintiffs are entilled to costs of this suit, including a reasonable
attorney fee.

6.10 The award of damages should be increased to an amount three Limes
the actual damages sustained.

VII. PRAYER FOR RELIEF

WHEREFORE, plaintiffs Bernard Cain and Mary Cain pray for judgment

apainst defendants as follows:

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COMPLAINT FOR DAMAGES - 6

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1 1. FIRST CLAIM FOR REVJIEF

Federal Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.
a. As a result of defendants’ violation of the FCRA, plaintiffs were

caused to suffer economic damages in the form of inability to refinance, higher

inlerest rates, damage to their reputation, worry, fear, distress, frustration,
J etubarrassment, and humiliation, all in an amount tu be determined by the fury.
8 b. _— Plaintiffs are entitled to punitive damages in an amount to be
determined by the jury.

C. Plaintiffs are entitled to their attorney fees, pursuant to 15 U.S.C. §
1681 n{c) and 16810,

2, SECOND CLAIM FOR RELIEF

Federal Fair Credit Reporting Act, 15 U.S.C. § 1661 et seq.

a, As a result of defendants’ violation of the FCRA, plaintiffs wore
caused to suffer economic damages in the form of inability to refinance, higher
intacest rates, damage to their reputation, worry, fear, distress, frustration,
embarrassment, and humiliation, all in an amount to be determined by the jury.

b. Plaintiffs are entitled to their attorney fees, pursuant to 15 U.S.C. §
1681n(c) and 16810.

3. THIRD GLAIM FOR RELIEF

Washington State Fair Credit Reporting Act, RCW 19.182.005 et seu.
a. Asa result of defendants’ willful violation of the Washington State

Fair Credit Reporting Act, plaintiffs were caused to suffer economic damages in the

COMPLAINT FOR DAMAGES - 7
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form of inability to refinance, higher interest rates, damage to their reputation,
worry, fear, distress, frustration, embarrassment, and humiliation, all in an amount
to be determined by the jury.

b. Plaintiffs are entitled in addition to actual damages, to a $1,000
penalty in accordance with RCW 19.182.150.

C. Plaintiffs are entitled lo costs of this suit, including attorney fees,
pursuant to ROW 19.182.150,
4. FOURTH CLAIM FOR RELIEF

Washington State Fair Credit Reporting Act, RCW 19.182.005 at seq.

a. As aresuli of defendant’s negligent violation of the Washington State
Fair Credit Reporting Act, plaintiffs were caused to suffer a lost economic
opportunity, ecouomic damages in the form of inability to refinance, higher interest
tates, damage to their reputation, worry, fear, distress, frustration, cmbarrassment,
and humiliation, all in an amount to be determined by the jury.

b. Plaintiffs are entitled to costs of this suit, including their attorney fees,
pursuant fo RCW 19,182.150,

5. FIFTH CLAIM FOR RELIEF

Washington State Consumer Protection Act, RCW 19.86,010 ct seq.

a. Plaintiffs are entitled under RCW 19.86.090 to an amount equal ta
three times their actual damages.

b. Plaintiffs are entitled to costs of this suit, including a reasonable

attorney fee.

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COMPLAINT FOR DAMAGES - 6
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6. Such other and different relief as the courl deems just and proper.
DATED this // Pay of August, 2004.

HELSELL FETTERMAN LLP

By Nacewia ular

Richard S. While, WSBA #4195
Attorneys for Plaintiffs

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